DAVID BURCHARD
CHAPTER 13 TRUSTEE
P.O. BOX 8059
FOSTER CITY, CA 94404
(650) 345-7801 FAX (650) 345-1514
(707) 544-5500 FAX (707) 544-0475


                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA


     In re:                                                       Chapter 13
                                                                  Case No: 19-10509 DM
     EDWARD PETER CAMPBELL
     1530 BOSTON CT #22
     SANTA ROSA, CA 95407

                                       Debtor(s)




                                  REQUEST FOR ENTRY OF DEFAULT
                            AND DECLARATION OF DEFAULT BY TRUSTEE IN
                                  SUPPORT OF MOTION TO DISMISS
                                     AND REQUEST FOR ORDER


The undersigned declares:

         I am the custodian and/or keeper of the business records referenced herein, and as such, I am qualified to
certify the authenticity thereof. Additionally, I have personal knowledge of the matters stated in the Declaration.
If called upon as a witness, I could and would competently testify to the facts contained herein.

        Trustee’s Notice of Motion and Motion to Dismiss were e-filed on September 3, 2019 on the court’s
electronic docket. On the same day, the Notice of Motion, the Motion to Dismiss and the Declaration of David
Burchard, Trustee were served on Debtor(s) and their attorney of record. The corresponding Certificates of
Mailing were e-filed on the same day on the court’s electronic docket.

        Trustee's motion and the notice of motion were properly and timely served.

        Debtor has not timely filed or served an opposition to Trustee's Motion to Dismiss at least 14 days before
the hearing set for October 1, 2019.

       For the reasons set forth in the Motion to Dismiss, Trustee respectfully request the Court approve the
Motion to Dismiss, drop the matter from the calendar, and enter an Order by default pursuant to Bankruptcy Local
Rule 9014-1.

       I declare under penalty of perjury that the foregoing is true and correct and that this Declaration was
executed on September 18, 2019 Foster City, California.


Dated: September 18, 2019                                 DAVID BURCHARD
                                                          DAVID BURCHARD, Chapter 13 Trustee


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                                        CERTIFICATE OF SERVICE


I am over the age of 18 years and not a party to this action. I am employed by the Trustee whose business address
is 1065 E. Hillsdale Blvd., Suite #200, Foster City, CA. On the date set forth below, I served a true and correct
copy of the Request for Entry of Default and Declaration of Default by Trustee in Support of Motion to
Dismiss and Request for Order and this Certificate of Service, on the persons listed below by following our
ordinary business practice for service, which is either deposited in the ordinary course of business with the U.S.
Postal Service by first class mail or served by electronic transmission from the Court, if applicable. I declare
under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


         EDWARD PETER CAMPBELL
         1530 BOSTON CT #22
         SANTA ROSA, CA 95407



The following recipients have been served via Court’s Notice of Electronic Filing:

         EVAN LIVINGSTONE
         evanmlivingstone@gmail.com




Dated:    September 18, 2019                          ROSA GARCIA
                                                      ROSA GARCIA




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